Case 1:19-md-02875-RMB-SAK                  Document 3044            Filed 05/05/25         Page 1 of 1 PageID:
                                                 109466

                                                                                          11 S. Meridian Street
                                                                                          Indianapolis, IN 46204-3535 U.S.A.
                                                                                          (317) 236-1313
                                                                                          Fax (317) 231-7433

                                                                                          www.btlaw.com




     Kara M. Kapke
     Partner
     (317) 231-6491
     Kara.Kapke@btlaw.com

 May 5, 2025
 Via ECF Only

 Honorable Renée Marie Bumb
 United States District Court for the District of New Jersey
 Mitchell H. Cohen Building & U.S. Courthouse
 4th & Cooper Streets
 Camden, NJ 08101

            RE:      In re: Valsartan, Losartan, and Irbesartan Products Liability Litigation,
                     U.S. District Court for the District of New Jersey;
                     Case No. 1:19-md-02875-RBK-JS

 Dear Judge Bumb:
        We write on behalf of Defendant Rite Aid Corporation (“Rite Aid”) regarding the Notice
 of Permanent Injunction and Discharge filed on September 30, 2024 (ECF No. 2871) and its
 request that the Court administratively terminate the above-captioned action as to Rite Aid,
 pursuant to the bankruptcy discharge and injunction referenced therein. See ECF Nos. 2871
 (Notice of Permanent Injunction and Discharge), 2871-2 (Confirmation Order and Plan), 2871-3
 (Notice of Entry of Order and Effective Date); see also ECF No. 2514 (Suggestion of Bankruptcy
 and Notice of Automatic Stay of Proceedings).
        For the Court’s consideration, enclosed with this letter is a proposed order reflecting the
 requested administrative termination as to Rite Aid. 1 We are available to answer any questions or
 provide any additional information to the Court regarding the order.
                                                               Respectfully submitted,



                                                                  Kara M. Kapke

 Enclosure
 Exhibit A – Proposed Order


 1
  Exhibit A to the Proposed Order, which reflects the dockets to be administratively terminated, contains additional
 dockets not reflected in Exhibit A to Rite Aid’s Notice of Permanent Injunction and Discharge filed on September 30,
 2024 (ECF No. 2871-1), such as cases that have subsequently amended their complaints to name Rite Aid. Rite Aid
 has conferred with Plaintiffs about these changes, and Plaintiffs do not oppose them.
